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                                   7                                UNITED STATES DISTRICT COURT
                                   8                           NORTHERN DISTRICT OF CALIFORNIA
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                                        ASHOK BABU, and others,                             Case No. 18-cv-07677-NC
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                                                      Plaintiffs,                           ORDER RE: PLAINTIFFS’
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Northern District of California




                                                                                            COUNSEL’S IMPROPER EX
 United States District Court




                                               v.                                           PARTE COMMUNICATION
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                                        GREGORY J. AHERN, and others,
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                                                      Defendants.
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                                  17          On July 13, 2021, Plaintiffs’ counsel sent a letter to Chief Judge Richard Seeborg
                                  18   and federal partners about the Court’s re-opening plans. The “Re:” line of the four-page
                                  19   letter states “Reopening of the Court for Incarcerated Persons” and identifies this case by
                                  20   name, case number, and file number. The letter was not initially served on defendants’
                                  21   counsel in this case, so it was an ex parte communication with the Court.
                                  22          This action by counsel constituted an improper ex parte communication in violation
                                  23   of Civil Local Rule 7-10. See Civil L.R. 7-10 (allowing ex parte filings “only if a statute,
                                  24   Federal Rule, local rule or Standing Order authorizes the filing . . . in the circumstances
                                  25   and the party has complied with the applicable provisions allowing the party to approach
                                  26   the Court on an ex parte basis.”). Plaintiffs’ counsel did not seek the Court’s permission
                                  27   and did not articulate a good reason for the ex parte communication. Further, the letter
                                  28   was not filed in ECF so there was no record of it for me, Defendants’ counsel, class
                                   1   members, or the public. In mitigation, Plaintiffs’ counsel did inform me and Defendants’
                                   2   counsel of the letter at our case management conference on July 14, 2021, and then
                                   3   provided a copy of the letter. Chief Judge Seeborg’s response was provided to counsel for
                                   4   all parties. In the future, counsel must abide by the Civil Local Rules and follow the
                                   5   proper procedure for communication with the Court.
                                   6          IT IS SO ORDERED.
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                                   8   Dated: July 15, 2021                      _____________________________________
                                                                                       NATHANAEL M. COUSINS
                                   9                                                   United States Magistrate Judge
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Northern District of California
 United States District Court




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